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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KOAMI AGBALENYO,

                      Plaintiff,
                                                                ORDER
              -against-
                                                          21 Civ. 4628 (PGG)
KEVIN JAY EVANS and CONTINENTAL
LOGISTICS SERVICES,

                      Defendants,


PAUL G. GARDEPHE, U.S.D.J.:

              The conference currently scheduled for November 16, 2021 at 11:30 a.m. is

adjourned sine die.

Dated: New York, New York
       November 14, 2021
